                  IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA,

                  Plaintiff,

v.                                          Criminal Action No. 1:17CR27-3
                                                    (Judge Keeley)
BRITNEY JOYCE ROBINSON,

                  Defendant.

       MEMORANDUM OPINION AND ORDER DENYING DEFENDANT’S PRO SE
     MOTION FOR LEAVE TO APPEAL IN FORMA PAUPERIS [DKT. NO. 184]

        On August 26, 2019, the defendant, Britney Joyce Robinson

(“Robinson”), filed a pro se motion for leave to appeal in forma

pauperis (Dkt. No. 184). Because her appeal is not taken in “good

faith,” the Court DENIES her motion (Dkt. No. 184).

                                I. BACKGROUND

        On May 2, 2017, a grand jury sitting in the Northern District

of West Virginia returned a seventeen-count indictment, charging

Robinson with conspiring to distribute cocaine base in violation of

21 U.S.C. §§ 841(b)(1)(C) and 846 (Count One); maintaining a drug-

involved premises, in violation of 21 U.S.C. § 856(a)(1) (Count

Two);    possession    with   intent   to   distribute   cocaine   base,   in

violation    of   21   U.S.C.   §§   841(a)(1)   and   841(b)(1)(C)   (Count

Fourteen); possession with intent to distribute oxycodone, in

violation    of   21   U.S.C.   §§   841(a)(1)   and   841(b)(1)(C)   (Count

Fifteen); possession with intent to distribute heroin, in violation

of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C) (Count Sixteen); and

possession with intent to distribute cocaine hydrochloride, in
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violation     of   21   U.S.C.   §§    841(a)(1)    and   841(b)(1)(C)    (Count

Seventeen) (Dkt. No. 1). After the Court sentenced her to forty-one

(41) months of incarceration, the United States Court of Appeals

for the Fourth Circuit affirmed Robinson’s conviction and sentence

on January 7, 2019 (Dkt. No. 165).

        On April 29, 2019, Robinson filed a pro se motion seeking

relief under the First Step Act of 2018 (Dkt. No. 173). There, she

asked the Court to direct the Federal Bureau of Prisons (“BOP”) to

place her in a halfway house for one year, citing the First Step

Act of 2018 and the Second Chance Act of 2007. Id. Alternatively,

she asked the Court to modify her sentence and impose a split

sentence, allowing her to serve the remainder on home detention.

Id.

        On August 13, 2019, the Court denied Robinson’s motion because

it lacks the authority to direct the BOP to place her in a halfway

house (Dkt. No. 181 at 2-4). Nor could it amend her sentence to

impose the requested split sentence because her request plainly did

not    fall   into   any   of    the   exceptions    outlined   in   18   U.S.C.

§ 3582(c). Id. at 4.

        After filing her notice of appeal (Dkt. No. 183), Robinson

filed the instant motion for leave to appeal in forma pauperis

(Dkt. No. 184). Although the Government has not filed a response,
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the motion is ripe for disposition.

                            II. DISCUSSION

     In her motion, Robinson asks the Court for leave to appeal in

forma pauperis because she is indigent and only has $80.00 in her

inmate trust account. Id.

     Under Federal Rule of Appellate Procedure 24(a)(3)(A), “[a]

party . . . who was determined to be financially unable to obtain

an adequate defense in a criminal case[] may proceed on appeal in

forma pauperis without further authorization, unless . . . the

district   court--before    or    after    the    notice    of     appeal    is

filed--certifies   that     the   appeal     is    not     taken    in      good

faith . . . .” Because Robinson qualified for court-appointed

counsel in her criminal case (Dkt. No. 16), she may appeal in forma

pauperis unless the Court certifies that her “appeal is not taken

in good faith . . . .” Fed. R. App. P. 24(a)(3)(A).

     “Good faith in this context means that the issues on appeal

are not frivolous.” Linden v. Harper & Row Inc., 467 F. Supp. 556,

558 (S.D.N.Y. 1979) (citing Coppedge v. United States, 369 U.S.

438, 445 (1962)). Thus, “[t]he Court’s inquiry is limited to

whether the appeal involves ‘legal points arguable on their merits

(and therefore not frivolous).’” Jones v. Frank, 622 F. Supp. 1119,

1120 (W.D. Tex. 1985) (quoting Anders v. California, 386 U.S. 738,
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744 (1967)). “In other words, the existence of any non-frivolous or

colorable     issue   on   appeal    will   compel   the   Court   to   grant

[Robinson’s] [m]otion.” Id. (citing Howard v. King, 707 F.2d 215,

220 (5th Cir. 1983)).

        In her notice of appeal, Robinson contends that this Court

erred by denying her motion for relief under the First Step Act of

2018 because the First Step Act amended 18 U.S.C. § 3624(c) and

these amendments went into effect on July 19, 2019 (Dkt. No. 183 at

2).1 She further contends that the cases cited by the Court’s

August 13, 2019 Memorandum Opinion and Order denying her motion are

distinguishable because they were decided before the amendment to

§ 3624(c) took effect on July 19, 2019. Id. at 3. In support, she

cites       Brown     v.    Warden     of     FCI     Williamsburg,       No.

8:19-cv-00546-HMH-JDA, 2019 WL 1780747 (D.S.C. Mar. 25, 2019). Id.

Each argument is without merit.

        Although the First Step Act amended 18 U.S.C. § 3624(c), the

effect of these amendments was not delayed until July 19, 2019.

Section 402 of the First Step amended § 3624(c) by adding the

following: “The Bureau of Prisons shall, to the extent practicable,

place prisoners with lower risk levels and lower needs on home


        1
       Robinson’s notice of appeal does not challenge the Court’s
conclusion that it lacks the authority to amend her sentence
under 18 U.S.C. § 3582(c) (Dkt. No. 183).
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confinement for the maximum amount of time permitted under this

paragraph.” Pub. L. No. 115-015, § 402, 132 Stat. 015 (2018).

Nothing in Section 402 delays the effect of this amendment to July

19, 2019. Id.

     The District of South Carolina’s decision in Brown, 2019 WL

1780747, does not alter this conclusion. In Brown, the pro se

petitioner was “challenging the BOP’s delay in calculating his

sentence via good time credits under the First Step Act.” 2019 WL

1780747, at *1. This challenge was based on the amendments to 18

U.S.C. § 3624(b) in Section 102 of the First Step Act, not the

amendments to § 3624(c) in Section 402. See id. at *4 (“Among other

things, the First Step Act ‘amended 18 U.S.C. § 3624(b)(1) to

change the manner in which good time credits are calculated by

increasing the maximum allowable days from 47 to 54 per year.’”).

But in Brown, the court concluded that “Section 102(b)(2) of the

Act provides that the amendments to § 3624(b) take effect only

after the Attorney General completes the risk and needs assessment

system required by Section 101(a) of the Act.” Id. at *6.

     Here,   Robinson   seeks   relief   based   on   the   amendment   to

§ 3624(c), not the amendments to § 3624(b). And unlike Section 101

of the First Step Act, Section 402 does not delay the effect of the

amendment to § 3624(c). Pub. L. No. 115-015, § 402. Therefore, the
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cases cited in this Court’s August 13, 2019 Memorandum Opinion and

order    are   not   distinguishable   on   that   basis.   As   previously

concluded, this Court lacks the authority to direct the BOP to

place an inmate in a halfway house under § 3624(c), as amended

(Dkt. No. 181 at 2-4). Indeed, “this eligibility determination is

left to the sole discretion of the BOP and is not subject to

judicial review.” Id. at 3 (internal citations omitted).

        Accordingly, the Court concludes that Robinson’s notice of

appeal fails to identify or present a non-frivolous or colorable

issue for appeal and, therefore, certifies that her “appeal is not

taken in good faith” under Federal Rule of Appellate Procedure

24(a)(3)(A).

                             III. CONCLUSION

        For the reasons discussed, the Court DENIES Robinson’s motion

for leave to appeal in forma pauperis (Dkt. No. 184).

        It is so ORDERED.

        The Court DIRECTS the Clerk to transmit a copy of this Order

to Robinson by certified mail, return receipt requested, and to

counsel of record by electronic means.

DATED: August 29, 2019

                                        /s/ Irene M. Keeley
                                        IRENE M. KEELEY
                                        UNITED STATES DISTRICT JUDGE
